  Case 5:19-cv-00231-H Document 46 Filed 09/08/20                Page 1 of 22 PageID 365



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                LUBBOCKDIVISION

LIBERTY INSIIRANCE
UNDERWRITERS, INC.,
     Plainti8



PAY AND SAVE, INC. d/b/A
                                                             No. 5:19-CV-231-H
LOWE'S SUPERMARKETS,
     Defendant,/Third-Party Plailrtiff,



TRAVELERS INDEMNITY COMPANY,
et al.,
        Third-Parfy Defendants.

                     MEMORANDI,]M OPIMON AND ORDER
                   DEI\TYING TIIE THIRD-PARTY DEFENDANTS,
                  MOTIONS TO DISMISS AND MOTIONS TO STAY

       Before the Court are the third-party defendants' Rule 12(b)(1) Motions to Dismiss

and their altemative Motions to Stay. Dkt. Nos. 28, 30. Finding that the Court has subject-

matter jurisdiction over Pay and Save's Stowers and statutory bad-faith claims against

Travelers, which are justiciable, the Court denies Travelers's Motion to Dismiss. The Court

also concludes that Pay and Save's negligence claim against Higginbotham for allegedly

breaching its duty to properly notify Liberty Insurance Underwriters ofthe underlying state-

court lawsuit against Pay and Save-which Pay and Save alleges led to this federal

declaratory-judgment action against   it-is   ripe for adjudication, so the Court denies

Higginbotham Insurance Agency, Inc.'s Motion to Dismiss. Further, the Court finds that

the applicable factors disfavor a stay ofPay and Save's claims against the third-party

defendants. Thus, the Court denies the third-party defendants' Motions for Stay.
     Case 5:19-cv-00231-H Document 46 Filed 09/08/20                    Page 2 of 22 PageID 366



l.         Factual and Proceilural Background

           A.     Factual Background

           The Court accepts the facts that are alleged in Liberty Insurance Underwriters, Inc.'s

("LIUI's") Complaint, Dkt. No. 7, and Pay and Save's Third-Party Complaint, Dkt. No.

16, and views them in the         light most favorable to the plaintiffs,   as   it must in reviewing    a

motion to dismiss under Federal Rule of Civil Procedure 12OX1).                   See   kzne v. Halliburton,

529   F.3d 548,557 (5th Cir. 2008).

           This action arises under the Declaratory Judgment Act and diversity of citizenship.l

See   Dkt. No.   1 at   2. LIUI   issued an insurance policy, which was in effect from January 1,

2016 to Jamrary 1,2017, to Pay and Save.             Id. The LIUI policy     v/as an excess policy to the

primary insurance policy that Travelers Indemnity Company issued to Pay and Save, which

provided limits of $1,000,000 for bodily injury claims.          Id   The   LIUI policy requires Pay

and Save to "see to it that [LIUI is] notified as soon as practicable ofan 'occurrence' which

may result in a 'claim' or 'suit' under this policy." Id.

           On May 4, 2016, Roel Canales fell inside a Lowe's Supermarket located

in Freer, Texas. Id. at 3. Canales filed        a   lawsuit against Pay and Save, which was styled

Cause No. DC-16-371nthe 229th District Court of Duval County, Texas.                          Id.   Canales

claimed that his damages exceeded $1,000,000. Id.




r      alleges that it is an Illinois corporation with its principal place of business in Massachusetts
    LIUI
and that Pay and Save is a Texas corporation with its principal place of business in Texas. See Dkt.
No. 1 at 1. In tum, Pay and Save alleges that third,party defendant Travelers is a Connecticut
corporation with its principal place ofbusiness in Connecticut and that third-party defendant
Higghbotham is a Texas corpolation with its prhcipai place of business in Texas. Dkt. No. 16 at 2.
Pay and Save alleges that the Court has supplemental jurisdiction over Pay and Save's claims
agiinst the thtd-parry defendants under 28 U.S.C. $ 1367(a). Id. The parties do not challenge the
existence of diversity or supplemental     jurisdictiot.


                                                           2
     Case 5:19-cv-00231-H Document 46 Filed 09/08/20                Page 3 of 22 PageID 367



         Canales served Pay and Save with a copy of his Original Petition in the state-court

lawsuit in January 2017 , and Pay and Save appeared in the lawsuit during that month.                  .Id.


at   4. Although Pay and Save promptly notified Travelers of the suit, it did not notifu LIUI

throughout the pendency of the litigation. Id. When the suit proceeded to trial on July                1,


2019,Pay and Save had not notified LIUI ofthe suit. Id. After the trial adjoumed for the

Independence Day holiday on July 3, 2019, counsel for Canales sent a demand for

$3,200,000, which Pay and Save forwarded to         LIUI through Higginbotham Insurance

Agency. Id. at4-5;    see also   Dkt. No. 16 at 3. Higginbotham, an hsurance agent, procured

the insurance policies that Pay and Save purchased from        LIUI   and Travelers.   See   Dkt. No.

16   at2-3. LIUI   lacked sufficient information regarding the substance and merits          of

Canales's claims to assess the demand, and Travelers denied the demand. Dkt. No.                  I   at 5.

         At the tdal's conclusion, the jury found that Pay and     Save was both negligent and

grossly negligent.   Id. The jrtry awarded     Canales $6,325,000 in compensatory damages and

$13,000,000 in punitive damages.         Id. On October 2,2019, the trial court entered a

judgment against Pay and Save for $4,428,144 in compensatory damages; $213,7             47 .19        in

pre-judgment ilrterest; $1,800,000 in exemplary damages; and $14,925.94 in court costs. 1d

Pay and Save requested that       LruI   assume its defense in the underlying lawsuit, but        LIUI

refused. Id.

         The parties agee that Pay and Save has timely appealed the judgment in state court

and that Travelers has posted supersedeas bonds to prevent execution on the judgment

under Texas law.     See   Dkt. No. 28 at l; Dkt. No. 29 at2;Dkt. No. 3l at 8. A supersedeas

bond suspends execution of a judgment while the judgment is on appeal. See'fex. R. App.

P.24.tc^) &(0.



                                                    3
  Case 5:19-cv-00231-H Document 46 Filed 09/08/20                          Page 4 of 22 PageID 368



       B.      ProceiluralBackground

       LIUI filed its Complaint on October 24,2019,              seeking a declaratory iudgment rhat     it
has no duty to defend or indemniSr Pay and Save against Canales's claims in the underlying

lawsuit. Dkt. No.    1   at 6-7   .   Pay and save asked the court to grant it leave to file its Third-

Party Complaint against Travel.r5 n1d |{igginbotham, and the Court ganted leave on

January 29,2020. Dkt. Nos. 14-16. Pay and Save brings a common-law Stowers claim and

a claim for bad faith in   violation of Section 541 ofthe Texas Insurance Code against

Travelers. Dkt. No. 16 at4-5. As to Higginbotham, Pay and Save brings a claim for

negligence. Id. at 5*6.

       Travelers filed a Motion to Dismiss under Rule 12(b)(l), alleging that the Court lacks

subject-matter jurisdiction over Pay and Save's claims against Travelers. Dkt. No. 28.              In

the altemative, Travelers asks the Court to stay Pay and Save's claims against Travelerc. Id.

Likewise, Higginbotham filed a Motion to Dismiss or Stay Pay and Save's claim against it.

SeeDkt. No. 30. The parties have bdefed these motions, which are now ripe for disposition.

2.     Legal Stan.lards

       A.     Rule 12(b)(f) Motions to Dismiss

       A party may challenge           a district court's subject-matter   jurisdiction under Federal

Rule of Civil Procedure 120)(1). In evaluating a Rule l2@)(l) motion, a district court may

examine any of three categories of information: "(1) the complaint alone; (2) the complaint

supplemented by undisputed facts evidenced in the record; or (3) the complaint

supplemented by undisputed facts plus the court's resolution of disputed facts." Ramning                 v.


United States,28l   F.3d 158, 161 (5th Cir. 2001).




                                                        4
  Case 5:19-cv-00231-H Document 46 Filed 09/08/20                         Page 5 of 22 PageID 369



         The party asserting subject-matter jurisdiction bears the burden ofestablishing that

such   jurisdiction exists.    See   Motis y. Thompson,852F.3d 416,419 (5th Cn.2017).

However, the district court should only grant a Rule 12(bX1) motion "if it appears certain

the plaintiff cannot prove any set of facts that would entitle her to recovery." Id. (cinng

Home Builders Ass'n of Miss., Inc. v. City of Madison, 143      F.3d 1006, 1010 (5th Ctr. 1998));        see


also Choice Inc. of Tex.   t   Greenstein,69l F.3d 710,714      (sft Cir. 2012) (same).

         Where, as here, the Court's jurisdiction arises under the Declaratory Judgment Act

and diversity of citizenship, the Court must apply the substantive law of the forum state.                   See


Colony Ins. Co.   t   Peachtree Const.,   Ltd.,647 F.3d248,252 (sth Cil. 2011) (citing Eie R.R.           Co.


v. Tompkins,304 U.S. 64,78 (1938)).           "In order to determine state law, federal courts look to

final decisions of the highest court of the state. When there is no ruling by the state's

highest court, it is the duty ofthe federal court to determine as best it can, what the highest

court of the state would decide." Transcon.         Gas Pipe   Line Corp.   t   Transportation Ins. Co.,953

F.2d 985, 988 (5th Cn.1992). Here, the parties do not dispute that Texas insurance law

govems this action.

         B.       Motions to Stay Proceeilings under the Declaratory fudgment Act

         This case arises under the Declaratory Judgment           Act.     Saa   28 U.S.C. $$ 2207, et seq.

"[T]here is . . . nothing automatic or obligatory about the assumption ofjurisdiction by                 a


federal court to hear a declaratory judgment action." Wilton v.              Setten   Falls Co.,5l5U.S.2TT,

288 (1995') (intemal citations and quotation marks         omitted). "Consistent with the

nonobligatory natue of the remedy, a district court is authorized, in the sound exercise of

its discretion, to stay or to dismiss an action seeking a declalatory judgment before trial or

after all arguments have drawn to a close." Id.




                                                       5
    Case 5:19-cv-00231-H Document 46 Filed 09/08/20                               Page 6 of 22 PageID 370



           When asked to dismiss or stay an action that arises under the Declaratory Judgment

Act, the Court must make three determinations: (1) whether the declaratory judgment

action     is   justiciable; (2) whether the Court has authority to grant declaratory relief; and

(3) how to exercise its discretion to decide or dismiss the declaratory-judgrnent action. Olix

Credit All., Inc. tt. Wolfe,212F.3d 891, 895 (5th Cir.                2000). In exercising its discretion, the

Court must balance several factots.                See Travelers    fns. Co. v. La. Fatm Bureau Fed'n, Inc., 996

F   .2d   77   4,   77   8 (Sth   Cir. 1 993). Those factors are whether:

           (1) a state action is pending that could resolve a1l legal matters; (2) the
           plaintiffseeks declaratory relief in anticipation of a lawsuit; (3) the plairtiff
           forum shopped; (4) inequity would result if the plaintiff gained priority in time
           or changed forums; (5) the federal court is a convenient forum; (6) retention
           of the lawsuit would serve judicial economy; and (7) the federal court must
           construe a state judicial decree involving the same parties.

StateA to.Mut. Ins.Co.v.DunhillPartners, Inc.,No.3:12-CV-03770-P,2013VIL11821465,

at*4(N.D.Tex.Mar. 14,2013)(ciirrgLa.FarmBureau,996F.3datTTS,ardSt PaulIns.

Co.   r   Trejo,39 F.3d 585, 590-91 (5ttt Cir. 1994).

           However, in the Fifth Circuit, a motion to stay "a declaratory action that also seeks

coercive        relief is analyzed under the more demanding standard for abstention that                      is laid

ovt in Colorado River Water Conservation Dist.              t   United States,   424U.5. 800 (1976). New

England Ins. Co. t. Bamett,561 F.3d 392,396 (5th Cir. 2009);                     see also   Kelly Inv., Inc. v. Cont'l

Common Corp., 315 F .3d 494, 497 n.4 (Sth Cn. 2002). The                       Fifth Circuit has not yet ruled on

whether a defendant's third-party complaint, which seeks coercive relief, transforms a

declaratory-judgment action into an action that seeks coercive reliefso as to require the

application of the Colorado River standard. Cf. Century Sur. Co. t'. Ble ns, 799 F '3d 366' 373

(5th Cir. 2015) (declining to consider whether the district court erre dby applyngthe Trejo

test where a declaratory-judgment defendant filed coercive counterclaims).



                                                                6
  Case 5:19-cv-00231-H Document 46 Filed 09/08/20                  Page 7 of 22 PageID 371



         However, at least one district court within the Fi-fth Circuit has determined that a

declaratory-judgment defendant's third-party counterclaims seeking coercive relief require

the district court to apply the Colorado River standard rather than the Trejo faclors.    See

                                                                           *6 (N.D.
Allstau Ins. Co. v. Scarbrough, No. 3:15-CV-00114-M-A, 2016WL 10587685, at

Miss. Sept. 15,2016). Here, Pay and Save's Third-Parry Complaint against Travelers and

Higginbotham seeks coercive relief in the form of monetary damages.        .Sea   Dkt. No. 16 at 6.

For the sake of completeness, the Court    will   analyze the third-parry defendanS' requests for

a stay   ofPay and Save's claims against them under both the Trejo and     Colorado River


standards.

3.       Analysis

         A.     The Court denies Travelers's Motion to Dismiss because ttre Court has
                subject-mafter jurisiliction over Pay and Save's claims against Travelers.

                i.      Texas law does not prevent a plaintiff from bringing n 91sta'ers alnirn
                        while a final judgment in the underlying lawsdt is on appeal.

         The Srorer: doctrine provides that an insurer owes a duty of ordinary care to its

insured, which requires the insurer to accept a settlement offer that is reasonable and within

the policy limits. see Am. Physicians Ins. Exch. v. Garcia,876 S.W.2d 842,849 (Tex. 1994);

G.A. Stowers Fumiture Co. v. Am. Indem. Co., 15 S.W.2d 544,547 (Tex' Comm'n            App' 1929,

holding approved) (hotding that an insurer, when presented with a settlement offer, "is held

to that degee of care and diligence which a man of ordinary cale and diligence would

exercise in the management of his own business"). If an insurer rejects a settlement offer

 that is reasonable and within the policy limiS, the insurer may be held liable to the insured

 for any excess judgment above policy limits. see st. Paul Fire & Maine Ins. Co. v. Cowalescent

 Sens.,Inc.,193 F.3d 340,343 (5th Cir. 1999) (citing Garcia,876 S'W'2d at 848)'



                                                   7
  Case 5:19-cv-00231-H Document 46 Filed 09/08/20                    Page 8 of 22 PageID 372



       Although Travelers relies on Archer      v. Med. Protective Co.   of Ft. Wayne, Ind., 197

S.W.3d 422 (Tex.   App.-Amarillo 2006, pet. denied), that case supports Pay and Save's

position that the Court has subject-matter jurisdiction over Pay and Save's Stowers claim.

Archer provides that a Stowen plaintiff "need not await until all appeals have ended to sue."

Id. at426. Moreover, another district court within this judicial district determined that

"Texas law allows an insured to bring a Stowen acflon as soon as there is          a   jury verdict

exceeding policy   limits."   Bramlett v. Med. Proteaive Co. of Ft. Wayne, Ind.., No. 3:10-CV-2048-

D,2013 WL 796725, at *6 (N.D. Tex. Mar. 5, 2013) (Fitzwater, C.J.) (cit;ng Archer, 197

S.W.3d at 426).

       Street v. Second Court of Appeals,756    5.W.2d299 (Tex. 1988), does not undermine this

conclusion. There, the Texas Supreme Court held that common-law Stowers claims are

subject to a two-year period of limitations that does not begin to run until after all appeals

from the underlying lawsuit have been exhausted. But the fact that a plaintiffneed not bring

a Stowers claimbefore all appeals have been exhausted to avoid the running of the

limitations period does not mean that     a   plaintiff cannot bring such a claim while an appeal

is pending.

       As Travelers urges, the Texas Supreme Court in Street stated that "a judgment is final

for the purposes of bringing a Stowerc action if it disposes ofall issues and parties in the case,

the trial court's power to alter the judgment has ended, and execution on the judgment,               if
appealed, has not been superseded." Id. at 307. The Court understands this passage to

imply that a judgment may not be final under Texas law for the purpose of bringing a

Stowers clarm where, as here, execution of the judgment in the underlying lawsuit has been

superseded. However, as LIUI notes, a district court in this judicial disrict has determined




                                                    8
  Case 5:19-cv-00231-H Document 46 Filed 09/08/20                         Page 9 of 22 PageID 373



that a Stowen cldm is justiciable-even in the absence of a final judgment on which the

plaintiff in the underlying lawsuit is entitled to execute-where ,,there is adequate

information outlining the likelihood and degree of [the insured's] potential exposure to an

excess   judgment."    State Auto Prop.   &   Cas.   Ins. Co. t. Bartlex, No. 3:12-CV-1711-P,2012WL

12886955,    at*3(N.D.Tex.Dec. 14,2012). TheCourtfindsthelogicof Bartletttobe

persuasive. Pay and Save may present information outlining the likelihood and degree of its

potential exposure to the excess judgment, which has already been finalized and entered by

the state trial court in the underlying lawsuit, at the trial in this case. Further, the appellate

court may affirm the judgment of the trial court in the underlying lawsuit before this case

proceeds to   trial. Accordingly, this    case presents an actual controversy.          It   is   not "certain

[that Pay and Save] cannot prove any set of facts that would entitle [it] to recovery." Moris,

852 F .3d at 419   .



         Additionally, Foremost Cty. Mut. Ins. Co. v. Home Indem. Co.,897           F   .2d 754 (5th Cir.

1990), does not contravene the Court's conclusion that Pay and Save's               ,S/or.rrzrs    claim is

justiciable. In Foremost Cty., the parties to the underlying lawsuit executed a covenant not to

enforce the judgment, which "released [the] insured from all legal obligations to pay" the

judgment. Id. at757     .   The Fifth Circuit therefore determined that the insurer had not

breached its Stowers dtty to the insured.        See   id. at 758. But here, Pay and Save's obligation

to pay the judgment has only been temporarily suspended pending the appeal ofthe

underlying lawsuit. As Travelers acknowledges, Pay and Save has not been permanently

released from any legal obligation to         pay. SeeDkt. No.32at8 ("Pay&Savehasno

obligation to pay damages to Mr. Canales at this tbne           d:oe   to the posting of supersedeas

bonds.") (emphasis added). Because it is not certain that Pay and Save cannot prove any set



                                                        9
 Case 5:19-cv-00231-H Document 46 Filed 09/08/20                         Page 10 of 22 PageID 374



of facts that would entitle it to recovery, the Court denies Travelers's Motion to Dismiss as

to Pay and Save's Srowers claim.

                    ii.    Statutory bad-faith s[aims may be brought while a final juilgment in
                           the underlying lawsuit is on appeal.

        Under Texas law, an insurer commits an unfair or deceptive business practice when

it fails to "attempt in good faith" to "effectuate      a prompt,   fair, and equitable settlement" of a

"claim with respect to which the insurer's liability has become reasonably clear." Tex. Ins.

Code $ 541.060(a)(2). Pay and Save brings a claim against Travelers for the violation of this

statute.   .See   Dkt. No. 16 at 5. Travelers contends that the Court lacks subject-matter

jurisdiction over the statutory bad-faith claim because it is unripe.          See   Dkt. No. 32 at 6-7.

        Applying the bad-faith provision ofan older version of the Texas Insurance Code,

which used nearly identical lan gaage,2 rhe Texas Supreme Court stated that " [t]here is

nothing to indicate that the Legislature had in mind any standard other than the familiar

Stowers standard. and      certainly there was merit to uniffing the common-law and statutory

standards in this context.     "   Rocor   Int'|, 77 S.W.3d at 260-61. Assuming that the statute

codifies an insurer's commonlaw duty under Stowers, the Court finds that it has subject-

matter jurisdiction over Pay and Save's statutory claim against Travelers for the same

reasons that it has subject-matter jurisdiction over Pay and Save's Stowers clarm.

        Yet, as another disuict court found, Section 5a1.060(a)(2) contains an additional

element that differentiates it from an insurer's common-law duty under Stowets. "Urlike a

Stowers clarm, the statute requires a        bad-faith component.   "   Medallion Transp. & Logistics,



, The earlier version   ofthe Texas Insurance Code subjected an insurer to liability if the insurer did
not "attempt [ ] in good faith to effectuate prompt, fair, and equitable settlements of claims
submitted . . . in which liability has become reasonably clear. " Rocor Int'|, Inc. v. Nat'l Union Fire Ins.
Co. of Pittsburgh, Pa., 77 S.W .3d 253, 260 (Tex. 2002).


                                                       10
 Case 5:19-cv-00231-H Document 46 Filed 09/08/20                     Page 11 of 22 PageID 375



LLC     tt.   AIG Claims,lac, No. 2:16-CV-01016-JRG-RSP, 2018 WL 3249708, at *4 (E.D. Tex.

Jrume   27, 2018), report and recommendation adopted, 2018 WL 3239703 @.D. Tex. July 3,

2018). Thus, the district court there concluded that      a   plainffihad adequately alleged      a

statutory bad-faith claim so as to overcome the defendant's summary-judgment motion

despite the fact that the plaintiffs Stowers claim was unripe because the parties to the

underlying lawsuit had settled that suit. 2018 WL 3249708,           at*2,4,5. Here, as in

Medallion Transp., the events giving rise to Pay and Save's statutory bad-faith claim have

already taken place. And, as discussed above, the Court finds that the enforceability ofthe

judgment in the underlying lawsuit is not a prerequisite for the bringing of a Stowers claim

under Texas law. The Court therefore concludes that it has subject-matter jurisdiction over

Pay and Save's statutory bad-faith claim against Travelers, which is slightly distinct from

Pay and Save's Stowers claim against Travelers, even though the judgrnent in the underlying

lawsuit may not be final for the purpose of the Stowers claim because execution on the

judgment has been superseded.

                     iii.   The Court has subject-matter jurisdiction over Pay and Save's
                            negligence claim against Iligginbotham '

              Pay and Save brings a negligence claim against Higginbotham, alleging that     it

suffered injury as a result of Higginbotham's failure to comply with its duty to notiff           LIUI

of the underlying lawsuit after Pay and Save informed Higginbotham. SeeDkt. No. 16 at

5-6.          Higginbotham asks the Court to dismiss Pay and Save's claim against it, arguing that

the claim is not yet ripe for adjudication because it depends upon the success of      LIUI's

declaratory-judgment claims against Pay and Save.          See   Dkt. No. 30 at 5. Because the Court

finds that Pay and Save's claim against Higginbotham is ripe, the Court denies

Higginbotham's Motion to Dismiss.


                                                     11
 Case 5:19-cv-00231-H Document 46 Filed 09/08/20                       Page 12 of 22 PageID 376



         "A court should dismiss a case for lack ofripeness when the case             is abstract or

hypothetical.   "   Greenstein,691F.3d at 715 (intemal quotation marks omitted). In

determining ripeness, the Court must focus on "the fitness of the issues for judicial decision

and the hardship to the parties of withholding court consideration." Id. (quoting New              O    eans


Pub. Sen., Inc. v. Council of New Aneanq833 F.2d 583, 586 (5th Cir. 1987).

         Here, the Court finds that Pay and Save's negligence claim is fit forjudicial decision.

The facts underlying the claim-whether Higginbotham had a duty to notifu LIUI of the

underlying lawsuit and whether Higginbotham breached that duty-have occurred and may

be proved at    trial. As Pay and Save concedes, "the underlying judgment may               increase,

decrease, or remain the same depending the how the state appellate court rules." Dkt. No.

37 at   6. But under Texas law, "a cause ofaction accrues when a wrongful act               causes some

legal injury, even if the fact ofinjury is not discovered until later, and even if all resulring

damages have not yet occurred." TIG Ins. Co. v. Aon Re, lnc.,521F.3d351,355 (5thCk.

2008) (quoting S.V. v. R.V.,933 S.W.2d 1,4 (Tex. 1996)).

         The uncertainty ofPay and Save's damages does not prevent its claim from

becoming ripe. In a recent decision, a district court denied a motion to dismiss that was

based on ripeness, reasoning that legal injury is a broad concept that encompasses more

than quantifiable monetary damages. Bums Motors, Ltd. v. FCA USA LLC, No. 7:17-CV-421,

2018    WL   461079, at *3 (S.D. Tex. Jan. 18, 2018). "While Defendants' ripeness argument

foctses on damages being contingent upon [an event that had not yet occurred], the relevant

inquiry is whether Plaintiffs suffered an injury        as a result of the alleged   [negligence.)" Id.

(emphasis in original). As in Bums Motors, the relevant inquiry here is whether Pay and

Save has suffered an     injury   as a result of   Higginbotham's alleged negligence, not whether its




                                                       12
 Case 5:19-cv-00231-H Document 46 Filed 09/08/20                       Page 13 of 22 PageID 377



damages rue contingent upon future events. Higginbotham has not shown that Pay and

Save's involvement in this declaratory-judgment action is not a sufficient injury to satisff

Article III's ripeness requirement, and the Court declines to find         as a    matter of law that this

lawsuit does not consfitute such an injury.

       Moreover, Pay and Save brought its negligence claim against Higginbotham after

Pay and Save discovered Higginbotham's allegedly wrongful act, and the Court finds that

Pay and Save has suffered a legal injury in the form of the final judgment that has been

levied against it in the underlying lawsuit. The fact that the judgment may be altered or

reversed on appeal does not itself make the case unripe. "While the [c]ourt realizes that the

precise amount of damages accruing to [the plaintitr] is not yet determinable (since the

state[-]courr lawsuit against [the defendant] is still ongoing, and [the defendant's] liability,            if
any, has not yet been decided), this mere fact alone does not negate the existence [ofl an

actual and real controversy.      "   Certain Unden*iten at Lloyd's London     t   A & D Interests, Inc.,

197 F. Supp. 2d741,750 (S.D. Tex. 2002). Additionally, a claim is not unripe merely

because a contingency could "eliminate the possibility of ' the claimant "having a viable

claim[.]"   Regions Ins., Inc.   t. Ace Prop. &Cas. Ins' Co.,80F' Supp.3d730,734(M.D'La'

2015).3




I pay and Save also alleges that it "has been damaged as Higginbotham's negligence forced it to
expind $34,500 to secure a supersedeas bond." Dkt. No.37 at8. As Higginbotham notes, however,
thit assertion is not present in Pay and Save's Third-Parry Complaint. Dkt. No. 40 at 3 Still, the
Court is entitled to consider disputed facts on a Rule 12(b)(1) rnotion. See Ramming,2Sl F -3d at
 1 6 1 . Pay and Save has included the affrdavit of an aftorney
                                                                   for Pay and Save in the underlying
lawsuit, which states  that Pay  and Save  was   required  to expend   $34,500 to secure a supersedeas
bond to prevent execution oathejudgment        in  the underlying   lawsuit, and a copy ofthe purpofied
bond. Tius, the Court finds-in the     altemative      that Pay  and   Save's allegation that it was required
to secure a bond to stay execution of the   judgment    as a  proximate  result  of Higginbotham's
negligence rendets Pay and Save's negligence claim against Higginbotham ripe'


                                                      13
 Case 5:19-cv-00231-H Document 46 Filed 09/08/20                  Page 14 of 22 PageID 378



       Although a supersedeas bond has been posted to stay the execution of the underlying

lawsuit's judgment, there remains a sufficient possibility that fte judgment will be upheld

and that Pay and Save will suffer damages as a result of Higginbotham's alleged negligence.

Another district court found that, notwithstanding the posting ofa superseding bond, the

interest that the plaintiff in the underlying lawsuit had in an insurance policy, which was at

issue in the underlying lawsuit, was sufficiently immediate to be adjudicated. Max Specialty

Ins. Co. v. Heydarian, No. EP-10-CV-319-KC, 2011        WL   13235042, at *5 (W.D. Tex. Jan.23,

2011). Similarly, there is a live conroversy here between Pay and Save and Higginbotham

despite the posting ofa supersedeas bond.

       Further, the Court determines that Pay and Save would suffer a degree ofhardship        if
the Court were to dismiss Pay and Save's claim against Higghbotham as unripe. Pay and

Save is part of this federal   litigation because LIUI sued it, and Pay and Save's claim against

Higginbotham is closely tied to LIUI's claims against Pay and Save. These facs support

Pay and Save's argument that it should be entitled to seek relief against Higginbotham in

this proceeding.    "If [LIUI]   did not receive timely notice of the Underlying Lawsuit and

such late notice results in no coverage under the      [LIUI] Policy, Higginbotham breached its

duties owed to Pay and Save and such breach proximately caused injury to Pay and Save[.]"

Dkt. No. 16 at 6.

       Pay and Save is now defending LIUI's declaratory-judgment action. It asserts that

the declaratory-judgment action would not have come into existence if not for

Higginbotham's negligence, which allegedly prevented LIUI from receiving proper notice of

Canales's claims is the underlying lawsuit. Additionally, Pay and Save's negligence claim

represents its attempt to recover against Higginbotham for the conduct that allegedly gave




                                                  t4
    Case 5:19-cv-00231-H Document 46 Filed 09/08/20                     Page 15 of 22 PageID 379



rise to this federal lawsuit. Thus, the Court finds that it would cause pay and Save hardship

if it were to dismiss Pay and Save's claim against Higginbotham             as   unripe. Additionally,

"   [h]ardship to the [third-party defendants] will nor be mitigated by dismissal since they are

likely to face refiling of the same complaint[.]"          WestemGeco   L.L.C.   v.   Ion Geophysical Corp.,

776 F. Supp. 2d342,351(S.D. Tex.2011).

              B.      The third-party deferilants, Motions to Stay are denieil.

              In reviewing the third-party defendants' request for a stay in this case, which arises

under the Declaratory Judgment Act, the Court must fust determine whether the action

itself   is   justiciable and then whether the Court has authority to grant declaratory relief in

that action. Wolfe,212 F.3d at 895. The justiciability of the action between LIUI and Pay

and Save has not been challenged, and the Court finds that this action is justiciable and that

the Court has authority to grant declaratory relief. The subject of the controversy-whether

LIUI     has a duty to defend or indemnifr Pay and Save in connection with Canales's claims

against Pay and Save in the underlying state-court           lawsuit-is "definite and concrete."         Frye

v. Anadarko Petroleum Corp., 953 F        .3d 285, 294 (sth Cn. 2019) (qtroting Medlmmune, Inc.          v.


Genentech,         [nc.,549 U.S. 118, 127 (2007)). Further, as discussed above, the Court finds that

it has subject-matter jurisdiction over Pay and Save's claims against the third-party

defendants.

              Thus, the Court must apply either the Tlejo starldatd or the Colorado River standafi. in

determining whether to stay Pay and Save's claims against the thfud-party defendants.

Because a stay is not waranted under either standard, the thfud-parry defendants' request for

a stay is denied.




                                                      15
 Case 5:19-cv-00231-H Document 46 Filed 09/08/20                         Page 16 of 22 PageID 380



               I      Ttare Trejo     fators do not favor    a stay.

       The Trejo factors are:

       1) whether there is a pending state    action in which all of the matters in
       conffoversy  may   be fully litigated, 2) whether the plaintiff filed suit in
       anticipation of a lawsuit filed by the defendant, 3) whether the plainriff
       engaged in forum shopping in bringing the suit, 4) whether possible inequities
       in allowing the declaratory plaintiff to gain ptecedence in time or to change
       forums exist, 5) whether the federal court is a convenient forum for the parties
       and witnesses, and 6) whether retaining the lawsuit in federal court would
       serve the purposes ofjudicial economy, and [7)] whether the federal court is
       being called on to construe a state judicial decree involving the same parties
       and entered by the court before whom the parallel state suit beftveen the same
       parties is pending.

39 F.3d at 590-97 . The Court finds that the factors do not favor the third-party defendants'

requested stay.

                       a.          Peniling state action

       The fust Trejo factor, which the Court weighs heavily, favors the denial of a stay.

Because interference with state-court litigation is highly disfavored, "whether there is a

pending state action in which all the matters in the controversy can be fully litigated is       of

palamount con cem." Great Am. Ins. Co. v. Cumberland Int. Grp., LLC, No. CIV.A. 13-4763,

2013   WL   5755641, at *3 (E.D. La. Oct. 23,2013). Here, however, there is no parallel state

action in which Travelers's Stowers, stafJtory bad-faith, and negligence claims can be

adjudicated. The only state-court ploceeding at issue here is the underlying lawsuit, which

is a negligence dispute between Canales and Pay and Save that is on appeal ftom a fina1

judgment. Thus, there is no pending state action in which all of the matters in controversy

can be fully litig ated.   See   AXA Re Prop' &   Cas. Ins. Co. v.   Day, 162 F. App'x 316, 320 (5th

Cir. 2006) ('tBlecause [the federal declaratory-judgment plaintiffl is not a party to the [state-




                                                      16
 Case 5:19-cv-00231-H Document 46 Filed 09/08/20                   Page 17 of 22 PageID 381



court] action, the [district] court correctly concluded no pending state action exists where all

the matters in controversy could be fully litigated.").

                         b.    Race to the courthouse

       This factor also favors the denial of a stay. There is no indication that Pay and

Save-or LIUI, the plaintiff in this federal action-sought to game the system by filing suit

in anticipation of litigation in another forum. Indeed, Pay and Save did not enter this

litigation of its own volition, having been sued by LIUI, which likewise does not appear to

have engaged in forum shopping. "Merely flling a declaratory judgment action in a federal

court with jurisdiction to hear it . . . is not in itself improper anticipatory litigation or

otherwise abusive forum shopping." CertainTeed Corp. v. Mayfield, No. CV 19-400-WBV-

KWR, 2020 WL 1953615, at *6 @.D. La. Apr. 23, 2020) (quoting Sherwin-Williams               Co. v.


Holmes Cty.,343 F.3d 383, 400 (5th Cir. 2003)) (intemal quotation marks omitted); cf, also

Fed. Ins. Co. v. Sw.   Materiak,lzc., No. CIy.A.02-1187,2003WL21634945, at *3 @.D. La.

July 3, 2003) (declining to find that a federal declaratory-judgment plaintiff filed suit in

anticipation of litigation where it had not yet been joined in the underlying state-court

action at the time it filed the federal action).

                         c.    Forum shoPPing

        The third factor likewise favors the denial ofthe third-parry defendants' requested

stay. Pay and Save did not choose this forum, having been sued by         LIUI.   Moreover, the

Lubbock Division of the United States District Court for the Northem Disrict of Texas is a

proper forum for this case because Pay and Save's principal place ofbusiness is located

within the Lubbock Division.




                                                   t7
 Case 5:19-cv-00231-H Document 46 Filed 09/08/20                        Page 18 of 22 PageID 382



                         d.     Inequities

          Here, the fowth Trejo factor also disfavors a stay. The parties have not identified any

inequities that would be associated with allowing Pay and save to forestall a hypothetical

parallel state action, the existence of which has not been alleged.

                         e.     Convenience of the forum

          The Court finds that this factor is neutral. At this stage, the parties have not

identified any obstacles or advantages that are associated with litigating this case in federal

court in Lubbock.

                         f.     Juilicial economy

          Judicial economy, the sixth Trejo factor, weighs against a stay. As Pay and Save

urges,   judicial resources are best used to resolve all of the issues in        a case rather than     to

engage in piecemeal litigation. See Colorado Rtuer, 424 U     .S   .   at 818;   cf, also Moses   H.   Cone

Mem'l Hosp.'v. Mercary Constr. Corp.,460 U.S. 1, 19 (1983) (determining that the judicial

interest in avoiding piecemeal litigation counseled against a stay). " [E]ffrciencies may result

from litigating issues pertinent to multiple potential claims against a defendant in one

federal forum, as opposed to a number ofstate courts." Admiral Ins. Co.v. Dual Trucking,

12c.,   No. CV20-383, 2020WL2526952, at*5 G.D. La. May 18,2020) (quoting Sherwin-

Williams Co., 343 F.3d at 400).

          Here, there is no pending state-court action in which Pay and Save can resolve its

claims against Travelers and Higginbotham. If the Court were to stay Pay and Save's

claims against the third-party defendants, this case would not be stayed in its entkety

because    LIUI's declaratory-judgment claims against Pay and            Save would proceed. Thus,

LIUI's claims would proceed to trial in April 2021, while Pay and                Save would potentially




                                                   18
 Case 5:19-cv-00231-H Document 46 Filed 09/08/20                 Page 19 of 22 PageID 383



file a separate suit against Travelers and Higginbotham in state court, which would take

longer to resolve. Given that there are issues in this case that are pertinent to both sets   of

claims-such   as the timeliness and reasonableness     of Pay and Save's efforts to inform its

insurance carriers of the natwe and seriousness of Canales's claims-the Court finds that a

denial of the requested stay serves judicial economy.

                      C.      State judicial decree

       The final Trejo factor also cuts against a stay because the Court is not being called on

to construe a state judicial decree involving the same parties and entered by the court before

whom the parallel state suit between the same parties is pending. As discussed above, there

is no pending state-court suit involving the parties to this case.

                      h.      Summary

       In summary, six of the seven Trejo factors-including the fust factor, which weighs

the most heavily with the Court-support the denial of the third-party defendants' request

for a stay, while one factor is neutral. Thus, the Trejo factors support the denial of the third-

party defendants' request for a stay.

               ii.     Thc Colorado River fadors do not permit the Court to stay Pay anrl
                       Saygts slaims against the third-party defendants.

       A parry seeking   a stay under   the Colorado River standard faces a significantly heavier

burden than a party proceeding under the Trejo starldatd. "Because of the virnral unflagging

obligation ofthe federal courts to exercise the jurisdiction given them . . . the pendency of

an action in the state court is no bar to proceedings conceming the same matter in the

[f]ederal court having jurisdiction." Murphy v.
                                                (Jncle Ben's, lnc.,168F.3d734,737 (5th Cir.


1999) (quoting Colorado River,424U.S. at 817) (intemal quotation marks and citations

omitred).


                                                  19
 Case 5:19-cv-00231-H Document 46 Filed 09/08/20                 Page 20 of 22 PageID 384



         The Supreme Court has laid out six factors by which a district court can determine

whether a case falls into the "extraordinary and narrow" category in which Colorado River

abstention is appropriate:

         (1) assumption by either court ofjurisdiction over a res; (2) the relative
         inconvenience of the forums; (3) the avoidance of piecemeal litigation;
         (4) the order in which jurisdiction was obtained by the concurrent forums;
         (5) whether and to what extent federal law provides the rules ofdecision on
         the merits; and (6) the adequary ofthe state proceedings in protecting the
         dghts ofthe party invoking federal jurisdiction.

Murphy, 168 F.3d at 738 (citing Wilton, 515 U.S. at 285-86). The Court will discuss each

factor in tum.

                        a.     Assnmption by a court over ares

         This case does not involve any res or property over which any court, state or federal,

has taken control. Thus, the fust factor cuts against a stay.   See   Evanston Ins. Co.   t. Jimco,

lnc.,844 F.2d 1185, ll91 (5th Cir. 1988).

                       b.      Relative inconvenience of tle fora

         Because there is not currently a parallel state-court suit to which the third-parry

defendants are parties, the second Colorado River factor likewise does not favor a stay.        See


Murphy, 168 F.3d at 738.

                        c.     Avoiilance of piecemeal litigation

         As discussed above in Section 3.B.i.f, the Court finds that a stay of Pay and Save's

claims against the third-party defendants would lead to a greater risk of piecemeal litigation

because Pay and Save's claims against the third-party defendants would be severed from this

case   while LIUI's declaratory-judgment claims against Pay and Save would proceed. As

such, the third factor counsels against a stay.




                                                  )i
 Case 5:19-cv-00231-H Document 46 Filed 09/08/20                   Page 21 of 22 PageID 385



                       d.      The order in which jurisdiction was obtaineil

       Because there is not currently a parallel state-court suit to which the third-party

defendans are parties, this factor weighs against a stay.

                       e.      Feileral law's effect on the merits of the decision

       Although Texas law will provide the rules of decision on the merits of this case, the

"rare circumstances under which the presence of controlling issues of [Texas] law might

make abstention appropriate" are absent here. Evanston Ins. Co.,844F.3d at 1193. The

Court is proficient in the application ofTexas insurance law, and the parties have not shown

that this case presents exceptionally complex substantive issues that a state court would be

better suited to resolve. Thus, in the absence of such circumstances, the Court finds that this

factor is "at most neutral." Stewart r,. W. Heitage Ins. Co., 438 F.3d 488, 493 (5tfi Cir. 2006)

(citation omitted).

                       f.      Adequacy of the state prosssflings in protecting the rights             of
                               the party invoking feileral jurisiliction.

       The Fifth Circuit has stated that this factor can "only be a neutral factor or one that

weighs against, not for, abstention." Evanston Ins. Co., 844F .3d at     ll93;   see also Saucier v.


Aviva Life & Annuity Co.,701 F.3d 458, 465 (5th Cn.2012) ("[T]he adequary of state

proceedings never weighs in favor of abstention.     ").   Because the parties have not produced

any evidence or argument regarding Pay and Save's right to a federal forum, the Court finds

that this factor is neutral.

                        C'     $trrnmary

        Having applied the Colorado River factors, the Court finds that four factors weigh

against a stay of Travelers's claims against the third-party defendants while two factors are

neuffal. Thus, this   case does not present the "exceptional circumstances" that a party



                                                2t
Case 5:19-cv-00231-H Document 46 Filed 09/08/20                Page 22 of 22 PageID 386


seeking a stay must demonstrate to overcome this Court's "virtually unflagging obligation"

to "exercise the jurisdiction given [it] . " Saucier, 701 F.3d at 465 (quoting Colorado Rive\ 424

U.S. at 817).

          Thus, the Court denies the request f,or a stay. Should additional or changed

circumstances support the third-party defendants' request for a stay as the April 2021 trial

date approaches, the third-party defendants may fi.le a new motion, which the Court      will

take under consideration. The Court notes that it has a great degree of discretion in

determining whether to stay claims in a declaratory-judgment action. ,tee Wilton, 575 U.S.

at 288.

4,        Conclusion

          The Court, finding that it has subject-matter jurisdiction over Pay and Save's claims

against thtd-party defendants Travelers and Higginbotham, denies those defendants'

motions to dismiss. Further, the Coun finds that the applicable factors do not support the

thtd-parry defendants' requested stay, so the Court denies their request for a stay.

          So ordered on   september   E   , 2020.



                                                               A)
                                               J         WESLEY HENDRIX
                                                         D STATES DISTRICT JUDGE




                                                    22
